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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


                                   )
PEDRO LOPEZ; ABEL CANO;            )
KEVIN SLEDGE; CHARLES DEJESUS;     )
RICHARD BROOKS; ROBERT ALVAREZ; )
MARISOL NOBREGA; SPENCER TATUM; )
THE MASSACHUSETTS HISPANIC LAW     )
ENFORCEMENT ASSOCIATION,           )
INDIVIDUALLY AND ON BEHALF OF A    )
CLASS OF INDIVIDUALS SIMILARLY     )
SITUATED,                          )
                                   )
      Plaintiffs                   )
                                   )
      v.                           )
                                   )                      Case No. 07-CA-11693-JLT
CITY OF LAWRENCE, MASSACHUSETTS; )
CITY OF METHUEN, MASSACHUSETTS;    )
COMMONWEALTH OF MASSACHUSETTS; )
PAUL DIETL, IN HIS CAPACITY AS     )
PERSONNEL ADMINISTRATOR FOR THE )
COMMONWEALTH OF MASSACHUSETTS )
HUMAN RESOURCES DIVISION; JOHN     )
MICHAEL SULLIVAN, IN HIS CAPACITY  )
AS MAYOR OF THE CITY OF LAWRENCE, )
MASSACHUSETTS; WILLIAM MANZI, III, )
IN HIS CAPACITY AS MAYOR OF THE    )
CITY OF METHUEN, MASSACHUSETTS;    )
CITY OF LOWELL, MASSACHUSETTS;     )
WILLIAM F. MARTIN, IN HIS CAPACITY )
AS MAYOR OF THE CITY OF LOWELL,    )
MASSACHUSETTS; CITY OF WORCESTER, )
MASSACHUSETTS; and KONSTANTINA     )
B. LUKES, IN HER CAPACITY AS MAYOR )
OF THE CITY OF WORCESTER,          )
MASSACHUSETTS,                     )
                                   )
      Defendants                   )
                                   )


                               NOTICE OF APPEARANCE

       Please enter on the docket my appearance as attorney for the Defendants City of

Worcester and Konstantina B. Lukes, in her capacity as Mayor of the City of Worcester.
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                                  Respectfully submitted,

                                  CITY OF WORCESTER and
                                  MAYOR KONSTANTINA B. LUKES

                                  By their attorneys,

                                     /s/ Laurie W. Engdahl
                                  Laurie W. Engdahl BBO #554635
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                                  781-762-2229

Dated: January 16, 2008
